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                    EXHIBIT A
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                    H OW TO S E N D O R R EC E I V E A W I R E T R A N S F E R


                    Find out what information is
                    needed for a seamless
                    transfer to or from your
                    account.




                                                                                                            kcabdeeF
          Send or receive money quickly and securely within Canada or
                       internationally with a wire transfer

                               Receive a wire transfer                                                                      Send a wire transfer




                                                  How to receive a wire transfer

                      To receive a wire transfer to your CIBC bank account, you must give the sender the following information:

                                           For guidance on locating information, please refer to our FAQ.



     Required information                                             CIBC beneficiary details


     Bank name                                                       Canadian Imperial Bank of Commerce


                                                                     The complete branch address of your transit — street, city, province, postal
     Bank address
                                                                     code, country


     SWIFT BIC code                                                  CIBCCATT


                                                                     //CC0010NNNNN
     Canadian clearing code and format
                                                                     NNNNNN = your 5 digit transit number


     CIBC institution number                                         0010


     Transit                                                         Your 5-digit branch transit, including all zeros




https://www.cibc.com/en/personal-banking/ways-to-bank/sending-receiving-wire-transfers.html                                                         1/3
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     Beneficiary account number                                 Your 7-digit account number


     Beneficiary name                                           Your complete name as it appears on your statement


                                                                Your complete address as it appears on your statement — street, city,
     Beneficiary address
                                                                province or state, postal code or zip code, country




       If you are receiving funds in USD currency from the U.S., please use Wells Fargo as an intermediary bank by including the
                                                        additional details below:



     Required information                                       Intermediary bank details


     Bank name                                                  Wells Fargo Bank N.A.


     Bank address                                               New York, NY, US


     SWIFT code                                                 PNBPUS3NNYC


     CHIPS ID                                                   0509


     Fedwire or ABA                                             026005092




                                                                            Return to options




                                                                Wire transfer fees2




          Incoming wire payments3                                                               Outgoing wire payments4

                        Any amount                               $10,000 or less                     $10,000.01 to $50,000              Greater than $50,0
                    $15 per wire payment                      $30 per wire payment                   $50 per wire payment               $80 per wire paym




                                                        Frequently asked questions

    How do I find my transit and account numbers?




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    How do I find my transit’s branch address?



    What if my transit or account number doesn’t have the right number of digits?




    Terms and conditions




https://www.cibc.com/en/personal-banking/ways-to-bank/sending-receiving-wire-transfers.html                              3/3
